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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657
Product Liability Litigation
SECTION L
This document relates to:
Gloria Hernandez JUDGE FALLON

v.

Merck & Co., Inc., et al. MAGISTRATE JUDGE KNOWLES

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Docket No. 2:05-cv-01259

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ORDER OF DISMISSAL WITH PREJUDICE
Considering the foregoing Stipulation of Dismissal With Prejudice,
IT IS ORDERED that the claims of plaintiff Gloria Hernandez in the above-captioned
case be and they hereby are dismissed with prejudice with each party to bear his or her own
costs.

NEW ORLEANS, LOUISIANA, this day of , 2010.

DISTRICT JUDGE
